        Case 1-17-40104-cec        Doc 155     Filed 05/16/18    Entered 05/16/18 18:56:47


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                                                              May 16, 2018



Honorable Carla E. Craig
United States Bankruptcy Judge
United States Bankruptcy Court
Eastern District of New York
271 Cadman Plaza East
Brooklyn, New York 11201


       Re:    Prime Six Inc. Objection to Proposed Order of Confirmation
              Case No. 17-40104-cec


Your Honor:

       I am the attorney for the Debtor’s Landlord, Fang Realty. Because we were not able to reach an

agreement on the terms of a Confirmation Order and specifically because Debtor is not able to deposit

two months additional security as promised by Debtor as a condition to secure the withdrawal by the

Landlord of the Landlord’s objection to confirmation, we object to the Order Confirming the Plan.




                                                                  Very truly yours,

                                                                  S/David J. Doyaga, Sr.

                                                                  David J. Doyaga, Sr.
